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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 JAMES E. CORMICAN,

               Plaintiff,                                CIVIL ACTION NO.: 6:18-cv-61

        v.

 CONSUAYLA TURNER,

               Defendant.


                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 40). Plaintiff did not file Objections

to the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court DISMISSES without prejudice Plaintiff’s Complaint based

on his failure to follow a Court Order and failure to prosecute, DENIES as moot Defendant’s

Motion to Dismiss, DIRECTS the Clerk of Court to CLOSE this case and enter the appropriate

judgment of dismissal, and DENIES Plaintiff in forma pauperis status on appeal.

       SO ORDERED, this 4th day of August, 2020.




                                    R. STAN BAKER
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
